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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

Leslie Briggs et al, )
Plaintiff(s), )
)
)

Vs. ) Case No: 23-cv-81-GKF-JFJ
)
)
Allie Friesen et al, )
)
Defendant(s). )

SETTLEMENT CONFERENCE REPORT

On November 13, 2024, a settlement conference was held in the captioned matter. The
litigation was settled, subject to court approval and approval by the Oklahoma Contingency
Review Board (CRB) of the revised Consent Decree or if the CRB does not timely approve, then
approval by the Oklahoma Legislature. All parties agree to use their best efforts to obtain the
necessary approval and agree that they approve of the terms of the settlement as reflected in the
attached revised version of the Consent Decree, subject to the Court’s ruling with respect to the
Parties’ Third Joint Supplement to the Joint Motion for Preliminary Approval regarding
outpatient competency restoration treatment. See Doc. 56 p. 25.

Dated: 11/13/2024

LE Lh.

T. Lane Wilson, Adjunct Settlement Judge

